                                    IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                            CHARLOTTE DIVISION
                                    CIVIL ACTION NO. 3:18-CV-00150-KDB-DSC


               JARED MODE et. al.,                            )
                                                              )
                                 Plaintiffs,                  )
                                                              )
               v.                                             )
                                                              )
               S-L DISTRIBUTION COMPANY LLC                   )                  ORDER
               et. al.,                                       )
                                                              )
                                Defendants.                   )



                      THIS MATTER is before the Court on the “Motion for Admission Pro Hac Vice and

              Affidavit [for Eric M. Makinen]” (document #575) filed October 14, 2020. For the reasons set

              forth therein, the Motion will be granted.


                      The Clerk is directed to send copies of this Order to counsel for the parties and to the

              Honorable Kenneth D. Bell.


Signed: October 18, 2020SO   ORDERED.




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